           Case 8:06-cr-00424-SDM-TBM Document 50 Filed 07/11/07 Page 1 of 6 PageID 126
A 0 2458 (Rev 06/05) Sheet 1 - Judgment in a Criminal Case



                                 UNITED STA TES DISTRICT COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                  TAMPA DIVISION



UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE

                                                                      CASE NUMBER:       8:06-cr-424-T-23TBM
                                                                      USM NUMBER:        48946-018
VS.




JOHN THOMAS SHEERIN, JR.
                                                                      Defendant's Attorney:   Ray Christopher Lopez, cja

THE DEFENDANT:

-
X pleaded guilty to count ONE of the Indictment.


TITLE & SECTION                           NATURE OF OFFENSE                            OFFENSE ENDED                       COUNT

21 U.S.C. $$ 846 and                      Conspiracy to Possess Pseudoephedrine        September 14, 2006                  ONE
84 1(c)(2)


The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

X Count TWO is dismissed in accordance with the plea agreement.
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution. costs, and special assessments imposed by this judgment
are fully paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in econon~ic
circumstances.


                                                                                       Date of Imposition of Sentence: July 9, 2007




                                                                                            STEVEN D. MERRYDAY                        I
                                                                                       UNITED STATES DISTRICT JUDGE

                                                                                       DATE: July       liq,2007
           Case 8:06-cr-00424-SDM-TBM Document 50 Filed 07/11/07 Page 2 of 6 PageID 127
A 0 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:           JOHN TI-IOMAS SI-IEERIN, JR.                                                          Judgment - Page 2 of 6
Case No. :           8:06-cr-424-T-23TBM



The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
THIRTY (30) MONTHS.




 X The court makes the following recommendations to the Bureau of Prisons: (1) that the defendant receive an immediate
medical evaluation because of his current need for a regimen of kidney and other critical care and (2) that the defendant
be allowed to participate in the 500-Hour Comprehensive Drug Treatment Program.



X The defendant is remanded to thc custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.

           - at - a.m.1p.m. on -.
           - as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
           - before 2 p.m. on -.
           - as notified by the United States Marshal.
           - as notified by the Probation or Pretrial Services Oftice.




                                                                       RETURN

           I have executed this judgment as follows:




           Defendant delivered on                                                 to

      at                                                                          , with a certified copy of this judgment.


                                                                                         United States Marshal

                                                                            By:
                                                                                         Deputy United States Marshal
           Case 8:06-cr-00424-SDM-TBM Document 50 Filed 07/11/07 Page 3 of 6 PageID 128
A 0 245B (Rev. 04/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:            JOHN THOMAS SHEERIN, JR.                                                                    Judgment - Page 3of 6
Case No. :            8 :06-cr-424-T-23TBM
                                                              SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of THIRTY-SIX (36) MONTHS.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state. or local crime, and shall not possess a firearm,
ammunition, or destructive device as defined in 18 U.S.C. 5 921.

X
-          The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

X
-          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
        the defendant shall no1 leave the judicial district without the permission of the court or probation officer;

        the defendant shall report to the probation officer and shall submit a truthful and complete written rcport within the first five days of each
        month;

        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of thc probation officer;

        the defendant shall support his or her dependents and meet other family responsibilities;

        the defendant shall work regidarly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
        reasons;

        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:

        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia relatcd to any controlled substances, except as prescribed by a physician;

        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
        unless granted permission to do so by thc probation officer;

        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;

        the defendant. shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

        the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the permission
        of the COLIT~;
                    and

        as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
        or personal history or characleristics and shall pennit the probation officer to make such notifications and to confirm the defendant's
        compliance with such notification rcquircment.
           Case 8:06-cr-00424-SDM-TBM Document 50 Filed 07/11/07 Page 4 of 6 PageID 129

A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)
                                                                                      -



Defendant:           JOHN TI-IOPUIAS SHEERIN, JR.                                                      Judgment - Page 4 of 6
Case No. :           8:06-cr-424-T-23TBM
                                              SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall also comply with the following additional conditions of supervised release:


-
X         The defendant shall participate in a program (outpatient and/or inpatient) for treatment of narcotic addiction or drug or alcohol
          dependency and follow the probation officer's instructions regarding the implementation of this court directive. This program may
          include testing for the detection of substance use or abuse. Further, the defendant shall be required to contribute to the costs of
          services for such treatment not to exceed an amount determined reasonable by the Probation Office's Sliding Scale for Substance
          Abuse Treatment Services. Upon completion of a drug or alcohol dependency ueatment program, the defendant is directed to
          submit to testing for the detection of substance use or abuse not to exceed 104 times per year.
           Case 8:06-cr-00424-SDM-TBM Document 50 Filed 07/11/07 Page 5 of 6 PageID 130
A 0 245B (Rev 06/05) Sheet 5   - Criminal Monetary Penalties (Judgment in a Criminal Case)
Defendant:           JOHN THOMAS SHEERIN, JR.                                                                    Judgment - Page 5 of 6
Case No. :           8:06-cr-424-T-23TBM

                                                  CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                 Assessment                                 Fine                          Total Restitution

          Totals:                $100.00                                     $ waived                     $


          The determination of restitution is deferred until                    . An Anlended Jiuig~zenfin a Cri~rlinalCase ( A 0 245C) will be
          entered after such determination.
-         The defendant must make restitution (including co~rl~nunity
                                                                   restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or percentage pa rnent column below. However, pursuant to 18 U.S.C. $
          3664(i). all non-federal victims must be paid before the dnited States.


Name of Payee                                          Total Loss*                     Restitution Ordered               Priority or Percentage




                                 Totals:               S                               L-

 -          Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 3612(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                     the interest requirement is waived for the - f i e                      - restitution.
           -         the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 1OgA, 110, 11OA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1 96.               B
           Case 8:06-cr-00424-SDM-TBM Document 50 Filed 07/11/07 Page 6 of 6 PageID 131
A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)
                                                                                                                                  --



Defendant:           JOHN THOMAS SHEERIN, JR.                                                        Judgment - Page 6of 6
Case No. :           8 :06-cr-424-T-23TBh4


                                                          SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.           X       Lump sum payment of $ 100.00 due immediately, balance due
                                 -not later than                         . or
                                 - in accordance - C, - I)3 - E or - F below: or
B.        -          Payment to begin immediately (may be combined with -C, -D, or                         F below); or
C.        -          Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $             over a
                     period of          (e .g ., months or years), to commence              days (e.g., 30 or 60 days) after the
                     date of this judgment: or
D.        -          Payment in equal                (e.g . , weekly, monthly, quarterly) installments of $              over a
                     period of             , (e.g., months or years) to comnlence                     (e.g. 30 or 60 days) after
                     release from imprisonment to a term of superv~sion;or
E.        -          Payment during the term of supervised release will commence within                          (e.g., 30 or
                     60 days) afier release from imprisonment. The court will set the payment plan based on an assessment of
                     the defendant's ability to pay at that time, or
F.        -          Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-          Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (I) assessment, (2) restitution principal. (3) restitution interest, (4) fine principal,
( 5 ) fine interest. (6) co~nn~unity
                                  restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
